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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Barbara Ann Schmidt Castro,                        :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Oxford Management Services; and DOES 1-            :
                                                     COMPLAINT
10, inclusive,                                     :
                                                   :
                                                   :
                        Defendants.                :



                For this Complaint, the Plaintiff, Barbara Ann Schmidt Castro, by undersigned

counsel, states as follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.
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                                            PARTIES

       4.      The Plaintiff, Barbara Ann Schmidt Castro (“Plaintiff”), is an adult individual

residing in Somerville, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C.

§ 1692a(3).

       5.      Defendant Oxford Management Services (“OMS”), is a Florida business entity

with an address of 4180 Okeechobee Road, Fort Pierce, Florida 34947, operating as a collection

agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by OMS and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      OMS at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.      The Plaintiff is being contacted for a financial obligation (the “Debt”) to a

creditor (the “Creditor”) that does not belong to her.

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to OMS for collection, or OMS

was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).



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    B. OMS Engages in Harassment and Abusive Tactics

          12.    The Defendants called the Plaintiff at home regarding a debt that does not belong

to her.

          13.    The Defendants placed telephone calls to the Plaintiff twice a day.

          14.    During telephone conversations, the Defendants always asked for a “Miriam

Sosa”. Miriam Sosa is known to the Plaintiff.

          15.    The Plaintiff explained to the Defendants that she is not Miriam Sosa, and

requested that the Defendants stop contacting her. The Defendants however, continued to call

the Plaintiff.

          16.    The Defendants employed automated telephone calls to contact the Plaintiff.

          17.    The Defendants placed their telephone calls to the Plaintiff’s residential landline,

during the day, while the Plaintiff is at her place of employment.

          18.    During one telephone conversation, the Defendants told the Plaintiff that they had

never called her. The Defendants however, had contacted the Plaintiff every day previously to

such telephone conversation.


    C. Plaintiff Suffered Actual Damages


          19.    The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

          20.    As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.




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       21.     The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.


                                     COUNT I
                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       22.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       23.     The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that Defendants

contacted the Plaintiff at a place and during a time known to be inconvenient for the Plaintiff.

       24.     The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

profane and abusive language when speaking with the consumer.

       25.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

       26.     The Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that Defendants placed

calls to the Plaintiff without disclosing the identity of the debt collection agency.

       27.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

       28.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       29.     The Plaintiff is entitled to damages as a result of Defendants’ violations.




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                              COUNT II
     VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                        M.G.L. c. 93A § 2, et seq.

       30.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       31.      The Defendants employed unfair or deceptive acts to collect the Debt, in

violation of M.G.L. c. 93A § 2.

       32.      Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.


                                COUNT III
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.

       33.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       34.     Without prior consent the Defendants made telephone calls to the Plaintiff’s

residential telephone line using an artificial or prerecorded voice to deliver a message without the

prior express consent of the Plaintiff in violation of 47 U.S.C. § 227(b)(1)(B).

       35.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the Telephone Consumer Protection Act, including every one of the above-

cited provisions.

       36.     The Plaintiff is entitled to damages as a result of the Defendants’ violations.




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                                 COUNT IV
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       37.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       38.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       39.     Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

       40.     The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with numerous telephone calls.

       41.     The telephone calls made by Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       42.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       43.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       44.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.




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                                 COUNT V
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       45.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully set forth herein at length.

       46.     The acts, practices and conduct engaged in by the Defendants vis-à-vis the

Plaintiff was so outrageous in character, and so extreme in degree, as to go beyond all possible

bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community.

       47.     The foregoing conduct constitutes the tort of intentional infliction of emotional

distress under the laws of the State of Massachusetts.

       48.     All acts of Defendants and the Collectors complained of herein were committed

with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

imposition of punitive damages.


                                    PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                       §1692k(a)(2)(A) against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;

                   4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                       c. 93A § 3(A);

                   5. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);


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                 6. Actual damages from Defendants for the all damages including emotional

                      distress suffered as a result of the intentional, reckless, and/or negligent

                      FDCPA violations and intentional, reckless, and/or negligent invasions of

                      privacy in an amount to be determined at trial for the Plaintiff;

                 7. Punitive damages; and

                 8. Such other and further relief as may be just and proper.


                        TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: June 1, 2010

                                              Respectfully submitted,

                                              By: /s/ Sergei Lemberg

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